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2    District of Nevada
     Nevada Bar Number 13644
3    ALLISON REESE
     Assistant United States Attorney
4    Nevada Bar Number 13977
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7    Allison.Reese@usdoj.gov
     Attorneys for the United States of America
8
                                 UNITED STATES DISTRICT COURT
9                                     DISTRICT OF NEVADA

10    UNITED STATES OF AMERICA,                          Case No.: 2:17-CR-00042-APG-DJA

11                  Plaintiff,
                                                         STIPULATION TO CONTINUE
12          vs.                                          MOTION DEADLINE

13    SHAMARIAE MARSHON JONES, and
      EDWIN ARNOLD, JR.,
14
                    Defendants.
15

16          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

17   Trutanich, United States Attorney, and Allison Reese and Shaheen Torgoley, Assistant United

18   States Attorneys, counsel for the United States of America, Daniel Hill, counsel for Defendant

19   SHAMARIAE MARSHON JONES, and Thomas Ericsson, counsel for Defendant EDWIN

20   ARNOLD, JR., that the Motion deadline currently scheduled for January 8, 2021, be vacated

21   and continued to January 15, 2021.

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1           This Stipulation is entered into for the following reasons:

2           1.     The parties seek a continuance of the motion deadline to allow the parties

3    additional time to prepare their respective motions.

4           2.     The Defendants are in custody and agree with the continuance.

5           3.     The parties agree to the continuance.

6    DATED: January 8, 2021
                                                         Respectfully submitted,
7
                                                         NICHOLAS A. TRUTANICH
8                                                        United States Attorney

9                                                         /s/ Allison Reese

10                                                       ALLISON REESE
                                                         Assistant United States Attorney
11
                                                          /s/ Shaheen Torgoley
12
                                                         SHAHEEN TORGOLEY
13                                                       Assistant United States Attorney

14
                                                         /s/ Daniel Hill
15
                                                         Daniel Hill
16                                                       Counsel for Defendant
                                                         SHAMARIAE MARSHON JONES
17

18
                                                         /s/ Thomas Ericsson
19
                                                         Thomas Ericsson
20                                                       Counsel for Defendant
                                                         EDWIN ARNOLD, JR.
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1                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
2
      UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-00042-APG-DJA
3
                    Plaintiff,                          ORDER
4
            vs.
5
      SHAMARIAE MARSHON JONES, and
6     EDWIN ARNOLD, JR.,

7                   Defendants.

8
           IT IS THEREFORE ORDERED that the Motion deadline currently scheduled for
9
     January 8, 2021, be vacated and continued to January 15, 2021.
10
     DATED this11th
                ___ day of January, 2021.
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                                              HONORABLE ANDREW P. GORDON
13                                            UNITED STATES DISTRICT JUDGE

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